


  PER CURIAM.
 

  Upon review of Appellants’ response to this court’s January 28, 2009, order to show cause, Appellants’ appeal is DISMISSED for lack of jurisdiction.
  
   See Metellus v. State,
  
  900 So.2d 491 (Fla.2005) (noting a jurisdictional rule cannot be altered by the court or by agreement of the parties);
  
   see also Buscaino v. Yarborough,
  
  935 So.2d 635 (Fla. 1st DCA 2006) (dis
   
   *794
   
  missing untimely appeal for lack of jurisdiction).
 

  BARFIELD, THOMAS, and CLARK, JJ., concur.
 
